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 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11   KLAUBER BROTHERS, INC., a New               Case No.:
     York corporation,
12                                                   PLAINTIFF’S COMPLAINT FOR:
13   Plaintiff,
                                                        1. COPYRIGHT
14
                                                           INFRINGEMENT;
     v.
15
                                                        2. VICARIOUS AND/OR
                                                           CONTRIBUTORY
     ACTIVE CRAZE, INC., individually and                  COPYRIGHT
16                                                         INFRINGEMENT
     doing business as “Free to Live,” a
17   California Corporation; DREAMWARE,
     INC., a New York Corporation; LAURA             Jury Trial Demanded
18
     ASHLEY, INC., a Massachusetts
19   Corporation; BOSCOV’S
     DEPARTMENT STORE, LLC, a
20
     Pennsylvania Limited Liability
21   Corporation; and DOES 1 through 10,
22
     Defendants.
23

24

25

26         Plaintiff KLAUBER BROTHERS, INC., by and through its undersigned
27   attorneys, hereby prays to this honorable Court for relief based on the following:
28                                             -1-

                                           COMPLAINT
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 1                             JURISDICTION AND VENUE
 2         1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., §§ 101
 3   et seq.
 4         2. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
 5   1338 (a) and (b).
 6         3. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
 7   1400(a) in that this is the judicial district in which a substantial part of the acts and
 8   omissions giving rise to the claims occurred.
 9                                         PARTIES
10         4. Plaintiff Klauber Brothers, Inc. (“KLAUBER”) is a corporation organized
11   and existing under the laws of the State of New York with its principal place of
12   business in New York.
13         5. Plaintiff is informed and believes, and thereon alleges, that Defendant
14   ACTIVE CRAZE, INC., individually and doing business as “Free to Live”
15   (“ACTIVE”) is a corporation organized and existing under the laws of the State of
16   California with its principal place of business located at 1117 East Pico Boulevard,
17   Los Angeles, California 90021.

18         6. Plaintiff is informed and believes, and thereon alleges, that Defendant

19
     DREAMWARE, INC. (“DREAMWARE”) is a corporation organized and existing
     under the laws of the State of New York with its principal place of business located
20
     at 183 Madison Avenue, 10th Floor, New York, New York 10016, and is doing
21
     business in and with the State of California.
22
           7. Plaintiff is informed and believes, and thereon alleges, that Defendant
23
     LAURA ASHLEY, INC. (“LAURA ASHLEY”) is a corporation organized and
24
     existing under the laws of the State of Massachusetts with its principal place of
25
     business located at 7000 Regent Parkway, Fort Mill, South Carolina 29715, and is
26
     doing business in and with the State of California.
27

28                                             -2-

                                           COMPLAINT
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 1         8. Plaintiff is informed and believes, and thereon alleges, that Defendant
 2   BOSCOV’S DEPARTMENT STORE, LLC (“BOSCOV’S”) is a limited liability
 3   corporation organized and existing under the laws of the State of Pennsylvania with
 4   its principal place of business located at 4500 Perkiomen Avenue, Reading,
 5   Pennsylvania 19606, and is doing business in and with the State of California.

 6         9. Plaintiff is informed and believes and thereon alleges that some of

 7   Defendants Does 1 through 3, inclusive, are manufacturers and/or vendors of

 8   garments to Defendant, which Doe Defendants have manufactured and/or supplied

 9   and are manufacturing and/or supplying garments bearing lace manufactured with

10   Plaintiff’s copyrighted designs (as hereinafter defined) without Plaintiff’s knowledge

11   or consent or have contributed to said infringement. The true names, whether

12   corporate, individual or otherwise of Defendants Does 1-3, inclusive, are presently

13   unknown to Plaintiff, which therefore sues said Defendants by such fictitious names

14   and will seek leave to amend this complaint to show their true names and capacities

15   when same have been ascertained.

16         10.Defendants Does 4 through 10, inclusive, are other parties not yet identified

17   who have infringed Plaintiff’s copyrights, have contributed to the infringement of

18   Plaintiff’s copyrights, or have engaged in one or more of the wrongful practices

19   alleged herein. The true names, whether corporate, individual or otherwise, of

20   Defendants 4 through 10, inclusive, are presently unknown to Plaintiff, which

21   therefore sues said Defendants by such fictitious names, and will seek leave to

22   amend this Complaint to show their true names and capacities when same have been

23   ascertained.

24         11.Plaintiff is informed and believes and thereon alleges that at all times

25   relevant hereto each of the Defendants was the agent, affiliate, officer, director,

26   manager, principal, alter-ego, and/or employee of the remaining Defendants and was

27   at all times acting within the scope of such agency, affiliation, alter-ego relationship

28                                             -3-

                                           COMPLAINT
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 1   and/or employment; and actively participated in or subsequently ratified and
 2   adopted, or both, each and all of the acts or conduct alleged, with full knowledge of
 3   all the facts and circumstances, including, but not limited to, full knowledge of each
 4   and every violation of Plaintiff’s rights and the damages to Plaintiff proximately
 5   caused thereby.
 6                         CLAIMS RELATED TO DESIGN 7087
 7         12. Prior to the conduct complained of herein, Plaintiff composed an original
 8   two-dimensional artwork for purposes of lace production. It allocated this design
 9   Plaintiff’s Internal Design Number 7087 (“Subject Design A”). This artwork was a
10   creation of Plaintiff and/or Plaintiff’s design team, and is, and at all relevant times
11   was, owned in exclusively by Plaintiff.
12         13. Plaintiff applied for a United States Copyright Registration covering the
13   Subject Design A prior to the commencement of this action.
14         14. Prior to the acts complained of herein, Plaintiff sampled and sold lace
15   bearing Subject Design A to numerous parties in the fashion and apparel industries.
16         15. Following this distribution of product bearing Subject Design A, Plaintiff’s
17   investigation revealed that certain entities within the fashion and apparel industries
18   had misappropriated Subject Design A, and were selling fabric and garments bearing
19   illegal reproductions and/or derivations of Subject Design A.
20         16. Plaintiff is informed and believes and thereon alleges that, without
21   Plaintiff’s authorization, ACTIVE, DREAMWARE, LAURA ASHLEY,
22   BOSCOV’S, and certain Doe defendants created, sold, manufactured, caused to be
23   manufactured, imported and/or distributed fabric and/or garments bearing lace
24   featuring designs which are identical to or substantially similar to Subject Design A
25   (“Infringing Product A”). Such garments include, but are not limited to garments
26   sold by:
27

28                                              -4-

                                            COMPLAINT
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 1               a. BOSCOV’s, under SKU no. MW-0127 and bearing the label
 2                  “Free to live” and RN 141899, indicating said garments were
 3                  manufactured and/or supplied by or at the direction of ACTIVE.
 4               b. Garments sold by LAURA ASHLEY, under SKU 9147-49 and RN
 5                  90410, indicating said garments were manufactured and/or
 6                  supplied by or at the direction of DREAMWARE
 7         17. Below is a comparison of Subject Design A and an exemplar of Infringing
 8   Product A (detail and garment):
 9

10               Subject Design A                     Infringing Product A Exemplar

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17                                                              Garment:

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24         18. The above comparison makes apparent that the elements, composition,
25   colors, arrangement, layout, and appearance of the designs at issue are substantially
26   similar.
27

28                                            -5-

                                          COMPLAINT
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 1         19. The above comparison makes apparent that the elements, composition,
 2   colors, arrangement, layout, and appearance of the designs at issue are substantially
 3   similar.
 4         20. Plaintiff is informed and believes and thereon alleges that Defendants, and
 5   each of them, have committed copyright infringement with actual or constructive
 6   knowledge of Plaintiff’s rights, and/or in blatant disregard for Plaintiff’s rights, such
 7   that said acts of copyright infringement were, and continue to be, willful, intentional
 8   and malicious, subjecting Defendants, and each of them, to liability for statutory
 9   damages under Section 504(c)(2) of the Copyright Act in the sum of up to one
10   hundred fifty thousand dollars ($150,000.00) per infringement.
11                              FIRST CLAIM FOR RELIEF
12              (For Copyright Infringement – Against All Defendants, and Each)
13         21. Plaintiff repeats, realleges, and incorporates herein by reference as though
14   fully set forth, the allegations contained in the preceding paragraphs of this
15   Complaint.
16         22. Plaintiff is informed and believes and thereon alleges that Defendants, and
17   each of them, had access to Subject Design A including, without limitation, through
18   (a) access to Plaintiff’s showroom and/or design library; (b) access to illegally
19   distributed copies of the Subject Design by third-party vendors and/or Doe
20   Defendants, including without limitation international and/or overseas converters
21   and printing mills; (c) access to Plaintiff’s strike-offs and samples, and (d) garments
22   manufactured and sold to the public bearing fabric lawfully printed with the Subject
23   Design by Plaintiff for its customers.
24         23. Plaintiff is informed and believes and thereon alleges that one or more of
25   the Defendants manufactures garments and/or is a garment vendor. Plaintiff is
26   further informed and believes and thereon alleges that said Defendant(s) has an
27   ongoing business relationship with Defendant retailers, and each of them, and
28                                               -6-

                                              COMPLAINT
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 1   supplied garments to said retailers, which garments infringed the Subject Design in
 2   that said garments were composed of fabric which featured unauthorized print
 3   design(s) that were identical or substantially similar to the Subject Design, or were
 4   an illegal derivation or modification thereof.
 5         24. Plaintiff is informed and believes and thereon alleges that Defendants, and
 6   each of them, infringed Plaintiff’s copyrights by creating, making, and/or developing
 7   directly infringing and/or derivative works from the Subject Design and by
 8   producing, distributing and/or selling garments which infringe the Subject Design
 9   through a nationwide network of retail stores, catalogues, and through on-line
10   websites.
11         25. Due to Defendants’ acts of infringement, Plaintiff has suffered substantial
12   damages to its business in an amount to be established at trial.
13         26. Due to Defendants’ acts of infringement, Plaintiff has suffered general and
14   special damages in an amount to be established at trial.
15         27. Due to Defendants’ acts of copyright infringement as alleged herein,
16   Defendants, and each of them, have obtained direct and indirect profits they would
17   not otherwise have realized but for their infringement of the Subject Design. As
18   such, Plaintiff is entitled to disgorgement of Defendant’s profits directly and
19   indirectly attributable to Defendant’s infringement of Plaintiff’s rights in the Subject
20   Design in an amount to be established at trial.
21         28. Plaintiff is informed and believes and thereon alleges that Defendants, and
22   each of them, have committed acts of copyright infringement, as alleged above,
23   which were willful, intentional and malicious, which further subjects Defendants,
24   and each of them, to liability for statutory damages under Section 504(c)(2) of the
25   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
26   per infringement. Within the time permitted by law, Plaintiff will make its election
27   between actual damages and statutory damages.
28                                             -7-

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 1                               SECOND CLAIM FOR RELIEF
 2            (For Vicarious and/or Contributory Copyright Infringement - Against All
 3                                           Defendants)
 4            29. Plaintiff repeats, realleges, and incorporates herein by reference as though
 5   fully set forth, the allegations contained in the preceding paragraphs of this
 6   Complaint.
 7            30. Plaintiff is informed and believes and thereon alleges that Defendants
 8   knowingly induced, participated in, aided and abetted in and profited from the illegal
 9   reproduction and/or subsequent sales of garments featuring the Subject Design as
10   alleged herein.
11            31. Plaintiff is informed and believes and thereon alleges that Defendants, and
12   each of them, are vicariously liable for the infringement alleged herein because they
13   had the right and ability to supervise the infringing conduct and because they had a
14   direct financial interest in the infringing conduct.
15            32. By reason of the Defendants’, and each of their, acts of contributory and
16   vicarious infringement as alleged above, Plaintiff has suffered and will continue to
17   suffer substantial damages to its business in an amount to be established at trial, as
18   well as additional general and special damages in an amount to be established at
19   trial.
20            33. Due to Defendants’, and each of their acts of copyright infringement as
21   alleged herein, Defendants, and each of them, have obtained direct and indirect
22   profits they would not otherwise have realized but for their infringement of the
23   Subject Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
24   directly and indirectly attributable to Defendants’ infringement of Plaintiff’s rights in
25   the Subject Design, in an amount to be established at trial.
26            34. Plaintiff is informed and believes and thereon alleges that Defendants, and
27   each of them, have committed acts of copyright infringement, as alleged above,
28                                                -8-

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 1   which were willful, intentional and malicious, which further subjects Defendants,
 2   and each of them, to liability for statutory damages under Section 504(c)(2) of the
 3   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
 4   per infringement. Within the time permitted by law, Plaintiff will make its election
 5   between actual damages and statutory damages.
 6                                    PRAYER FOR RELIEF
 7   Wherefore, Plaintiff prays for judgment as follows:
 8                                     Against All Defendants
 9                             With Respect to Each Claim for Relief
10            a. That Defendants, their agents and employees be enjoined from
11               infringing Plaintiff’s copyrights in any manner, specifically those for the
12               Subject Design;
13            b. That Plaintiff be awarded all profits of Defendants plus all losses of
14               Plaintiff, plus any other monetary advantage gained by the Defendants
15               through their infringement, the exact sum to be proven at the time of
16               trial, or, if elected before final judgment, statutory damages as available
17               under the Copyright Act, 17 U.S.C. §§ 101, et seq.;
18            c. That Plaintiff be awarded its attorneys’ fees as available under the
19               Copyright Act U.S.C. §§ 101, et seq.;
20            d. That Defendants, and each of them, account to Plaintiff for their profits
21               and any damages sustained by Plaintiff arising from the foregoing acts
22               of infringement;
23            e. That Plaintiff be awarded pre-judgment interest as allowed by law;
24            f. That Plaintiff be awarded the costs of this action; and
25            g. That Plaintiff be awarded such further legal and equitable relief as the
26               Court deems proper.
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                                           COMPLAINT
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 1         PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE
 2   PURSUANT TO FED. R. CIV. P. 38 AND THE 7TH AMENDMENT TO THE
 3   UNITED STATES CONSTITUTION.
 4                                                Respectfully submitted,
 5

 6
     Dated: February 23, 2018   By:               /s/ Scott Alan Burroughs
                                                  Scott Alan Burroughs, Esq.
 7                                                Trevor W. Barrett, Esq.
 8                                                Justin M. Gomes, Esq.
                                                  DONIGER / BURROUGHS
 9                                                Attorneys for Plaintiff
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                                       COMPLAINT
